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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
RACKWISE, INC.,

                               Plaintiff,

         -v-
                                                         CIVIL ACTION NO.: 19 Civ. 11094 (AT) (SLC)

                                                            AMENDED SETTLEMENT CONFERENCE
FOLEY SHECHTER ABLOVATSKIY, LLP, JONATHAN
                                                                  SCHEDULING ORDER
R. SHECHTER, and ALEXANDER ABLOVATSKIY,

                               Defendants.


SARAH L. CAVE, United States Magistrate Judge.

         The settlement conference currently scheduled for Wednesday, October 21, 2020 at

10:00 am is ADJOURNED until Wednesday, December 16, 2020 at 2:00 pm in Courtroom 18A,

500 Pearl Street, New York, New York.

         While it is the Court’s preference that the settlement conference take place in person,

the parties may request that the conference take place by telephone by joint email to Chambers

at cave_nysdchambers@nysd.uscourts.gov at least one week before the scheduled conference.

         The terms and requirements for the conference included in the prior scheduling order

remain in effect. Pre-conference submissions are due December 10, 2020.

         The Clerk of Court is respectfully directed to close the Letter Motion at ECF no. 52.


Dated:          New York, New York
                October 15, 2020

                                                      SO ORDERED



                                                      _________________________
                                                      SARAH L. CAVE
                                                      United States Magistrate Judge
